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UNITED STATES DISTRICT COURT                                                                 11/15/2021
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 SUPERCOM, LTD.,

                                                Plaintiff,                    ORDER SCHEDULING PRE-
                                                                              MOTION CONFERENCE
                             -against-
                                                                              21-CV-2857 (AT)(KHP)
 SABBY VOLATILITY WARRANT MASTER
 FUND LTD. and WEDBUSH SECURITIES,
 INC.,

                                                Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

                   The Pre-motion Conference in this matter scheduled for Thursday, November 18,

2021 at 2:30 p.m. is hereby rescheduled to Thursday, December 16, 2021 at 12:00 p.m.

Counsel for the parties are directed to call Judge Parker’s court conference line at the

scheduled time. Please dial (866) 434-5269, Access code: 4858267.


         SO ORDERED.

Dated: November 15, 2021
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
